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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   SECURITIES AND EXCHANGE                                 CASE NO. C20-1434-JCC
     COMMISSION,
10                                                           FINAL JUDGMENT AS TO
                               Plaintiff,                    DEFENDANT VIKY BOHRA
11
            v.
12
     LAKSHA BOHRA, VIKY BOHRA, and
13   GOTHAM BOHRA,
14                             Defendants.
15

16          The Securities and Exchange Commission having filed a Complaint and Defendant Viky
17   Bohra (“Defendant”) having entered a general appearance; consented to the Court’s jurisdiction
18   over Defendant and the subject matter of this action; consented to entry of this Final Judgment;
19   waived findings of fact and conclusions of law; and waived any right to appeal from this Final
20   Judgment (Dkt. No. 3):
21                                                   I.
22          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
23   permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the
24   Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5
25   promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of
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 1   interstate commerce, or of the mails, or of any facility of any national securities exchange, in

 2   connection with the purchase or sale of any security:

 3          (a)     to employ any device, scheme, or artifice to defraud;

 4          (b)     to make any untrue statement of a material fact or to omit to state a material fact

 5                  necessary in order to make the statements made, in the light of the circumstances

 6                  under which they were made, not misleading; or

 7          (c)     to engage in any act, practice, or course of business which operates or would

 8                  operate as a fraud or deceit upon any person.
 9          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
10   Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
11   receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s
12   officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or
13   participation with Defendant or with anyone described in (a).
14                                                    II.
15          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
16   is liable for disgorgement of $321,695.22, representing profits gained as a result of the conduct
17   alleged in the Complaint, together with prejudgment interest thereon in the amount of
18   $26,672.41. Defendant shall satisfy this obligation by paying $348,367.63 to the Securities and

19   Exchange Commission pursuant to the terms of the payment schedule set forth in paragraph III

20   below after entry of the Final Judgment.

21          Defendant may transmit payment electronically to the Commission, which will provide

22   detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

23   from a bank account via Pay.gov through the SEC website at

24   http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

25   cashier’s check, or United States postal money order payable to the Securities and Exchange

26   Commission, which shall be delivered or mailed to



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 1          Enterprise Services Center

 2          Accounts Receivable Branch

 3          6500 South MacArthur Boulevard

 4          Oklahoma City, OK 73169

 5   and shall be accompanied by a letter identifying the case title, civil action number, and name of

 6   this Court; Viky Bohra as a defendant in this action; and specifying that payment is made

 7   pursuant to this Final Judgment.

 8          Defendant shall simultaneously transmit photocopies of evidence of payment and case
 9   identifying information to the Commission’s counsel in this action. By making this payment,
10   Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part
11   of the funds shall be returned to Defendant. The Commission shall send the funds paid pursuant
12   to this Final Judgment to the United States Treasury.
13          The Commission may enforce the Court’s judgment for disgorgement and prejudgment
14   interest by moving for civil contempt (and/or through other collection procedures authorized by
15   law) at any time after 30 days following entry of this Final Judgment. Defendant shall pay post
16   judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.
17                                                    III.
18          Viky Bohra shall pay the total of disgorgement and prejudgment interest due of

19   $348,367.63 in 3 installments to the Commission according to the following schedule: (1) $

20   $116,122.54 within 30 days of entry of this Final Judgment; (2) $116,122.54 within 60 days of

21   entry of this Final Judgment; and (3) $116,122.55 within 90 days of entry of this Final Judgment.

22   Payments shall be deemed made on the date they are received by the Commission and shall be

23   applied first to post judgment interest, which accrues pursuant to 28 U.S.C. § 1961 on any unpaid

24   amounts due after 30 days of the entry of Final Judgment. Prior to making the final payment set

25   forth herein, Viky Bohra shall contact the staff of the Commission for the amount due for the

26   final payment.



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 1            If Viky Bohra fails to make any payment by the date agreed and/or in the amount agreed

 2   according to the schedule set forth above, all outstanding payments under this Final Judgment,

 3   including post judgment interest, minus any payments made, shall become due and payable

 4   immediately at the discretion of the staff of the Commission without further application to the

 5   Court.

 6                                                   IV.

 7            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

 8   incorporated herein with the same force and effect as if fully set forth herein, and that Defendant
 9   shall comply with all of the undertakings and agreements set forth therein.
10                                                   V.
11            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for purposes of
12   exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the

13   allegations in the complaint are true and admitted by Defendant, and further, any debt for

14   disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

15   Final Judgment or any other judgment, order, consent order, decree or settlement agreement

16   entered in connection with this proceeding, is a debt for the violation by Defendant of the federal

17   securities laws or any regulation or order issued under such laws, as set forth in Section

18   523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19).

19                                                   VI.

20            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

21   jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

22            DATED this 16th day of October 2020.




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                                                           John C. Coughenour
26                                                         UNITED STATES DISTRICT JUDGE


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